        Case 3:22-cr-00426-JSC Document 140-1 Filed 11/03/23 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                            Northern District of California
                                 AMENDED CRIMINAL MINUTES

Date: November 3, 2023                                                  Total Time: 00:30

Judge: Jacqueline Scott Corley

Case No.: 22-cr-00426-JSC-1

Case Name: United States of America v. David Wayne Depape
                                      [x] Present [ ] Not Present [x] In-Custody & Remanded

Attorneys for United States: Helen Gilbert/Laura Vartain
Attorneys for Defendant: Angela Chuang/Jodi Linker
Attorney for Non-Party Target No. 1: Edward Swanson

Deputy Clerk: Ada Means                                     Court Reporter: Ruth Ekhaus



                                       PROCEEDINGS

Final pretrial conference held. The Court will issue an order. Jury selection is set for November
6, 2023 at 8:15 a.m. in Courtroom 8 in San Francisco.




EXCLUDABLE DELAY:
Category: Effective preparation of counsel.
Begins: July 19, 2023
Ends: November 6, 2023
